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                     1   MORGAN, LEWIS & BOCKIUS LLP                          MORGAN, LEWIS & BOCKIUS LLP
                         Eric Meckley, (Bar No. 168181)                       Christopher J. Boran (admitted pro hac vice)
                     2   eric.meckley@morganlewis.com                         christopher.boran@morganlewis.com
                         Dylan Rudolph, (Bar No. 278707)                      110 North Wacker Drive, Suite 2800
                     3   dylan.rudolph@morganlewis.com                        Chicago, IL 60606-1511
                         One Market, Spear Street Tower                       Tel: +1.312.324.1000
                     4   San Francisco, CA 94105-1596
                         Tel: +1.415.442.1000                                 Abbey M. Glenn (Bar No. 267751)
                     5   Fax: +1.415.442.1001                                 abbey.glenn@morganlewis.com
                                                                              1111 Pennsylvania Ave, NW
                     6   Jeremy P. Blumenfeld (admitted pro hac vice)         Washington, DC 20004-2541
                         jeremy.blumenfeld@morganlewis.com                    Tel: +1.202.739.3000
                     7   Brian W. Sullivan (admitted pro hac vice)
                         brian.sullivan@morganlewis.com
                     8   2222 Market Street
                         Philadelphia, PA 19103-3007
                     9   Tel: +1.215.963.5000
                    10   Attorneys for Defendants

                    11

                    12                              UNITED STATES DISTRICT COURT

                    13                          NORTHERN DISTRICT OF CALIFORNIA

                    14                                     (SAN FRANCISCO DIVISION)

                    15

                    16   LESLIE BERLAND,                                      Case No. 3:24-cv-7589-JSC

                    17                        Plaintiff,                       DEFENDANTS’ OPPOSITION TO
                                                                               PLAINTIFF’S ADMINISTRATIVE
                    18                 vs.                                     MOTION FOR LEAVE TO FILE SUR-
                                                                               REPLY IN OPPOSITION TO
                    19   X CORP., f/k/a TWITTER, INC., X                       DEFENDANTS’ MOTION TO
                         HOLDINGS, ELON MUSK, LINDSAY                          COMPEL ARBITRATION OF
                    20   CHAPMAN, DHRUV BATURA, BRIAN                          PLAINTIFF’S THIRD AND FOURTH
                         BJELDE, and TWITTER, INC. CHANGE OF                   CAUSES OF ACTION
                    21   CONTROL AND INVOLUNTARY
                         TERMINATION PROTECTION POLICY,
                    22
                                              Defendants.
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MORGAN, LEWIS &
 BOCKIUS LLP                                                                         DEFENDANTS’ OPPOSITION TO MOTION
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                                        -1-                FOR LEAVE TO FILE SUR-REPLY
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                     1          Plaintiff’s Motion for Leave to File a Sur-Reply in Opposition to Defendants’ Motion to

                     2   Compel Arbitration of Plaintiff’s Third and Fourth Causes of Action (Dkt. 62) is untimely,

                     3   improper, and unpersuasive. The Court should deny it for the reasons set forth below.

                     4          First, Plaintiff’s request is untimely. Local Rule 7-3(d) provides that a party may seek leave

                     5   to file a sur-reply “not more than 7 days after the reply was filed.” See L.R. 7-3(d); Sessoms v.

                     6   Bright, 2015 WL 7301821, at *4 (N.D. Cal. Nov. 19, 2015). Defendants filed their Reply on May

                     7   30, 2025, Dkt. 59, such that the deadline for Plaintiff to seek leave to file a sur-reply was June 6,

                     8   2025. Because Plaintiff did not file her Motion for Leave until three days later, on June 9, it is

                     9   untimely and should be denied. See Dkt. 62; Sessoms, 2015 WL 7301821, at *4 (denying request
                    10   to submit sur-reply as untimely when request “came in eleven days after defendant’s reply” and

                    11   noting that pursuant to “ Civil Local Rule 7–3(d)(1), any objection to a reply must be filed within

                    12   seven days of that reply’s submission”).

                    13          Perhaps recognizing this problem, Plaintiff styled her Motion for Leave as an administrative

                    14   motion pursuant to Local Rule 7-11. However, Local Rule 7-11 concerns requests for other

                    15   “miscellaneous administrative” relief, “such as motions to exceed otherwise applicable page

                    16   limitations or motions to file documents under seal.” L.R. 7-11. It does not apply to relief already

                    17   addressed in other “local rules.” Id. Plaintiff’s Motion for Leave is governed by Local Rule 7-3,

                    18   rendering Local Rule 7-11 inapplicable. The Court should deny Plaintiff’s attempt to circumvent

                    19   the 7-day deadline imposed under Local Rule 7-3.
                    20          Second, Plaintiff’s sur-reply is unwarranted. Plaintiff suggests that Defendants’ arguments

                    21   concerning the venue provision related to the 2013 Equity Incentive Plan (“2013 EIP”) were “made

                    22   for the first time” in their Reply brief. Dkt. 62 at 2. But these were proper reply arguments made

                    23   in response to Plaintiff’s Opposition arguments based on the same venue provisions. Dkt. 59.

                    24   Indeed, if Plaintiff were correct in arguing otherwise, then a sur-reply would be warranted for nearly

                    25   every motion—at least to the extent the moving party does not anticipate every argument its

                    26   opponent might make and preemptively address those arguments in its opening brief. In short,

                    27   because Defendants merely responded to arguments raised in Plaintiff’s Opposition, a sur-reply is

                    28   improper. E.g., Sanchez-Martinez v. Freitas, 2024 WL 396594, at *2 (N.D. Cal. Feb. 1, 2024).
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                     1            Third, Plaintiff’s sur-reply arguments are meritless, in any event. To start, while Plaintiff

                     2   contends that Defendants have improperly identified the 2013 EIP, she ignores that Defendants

                     3   have merely identified the very same document Plaintiff represents is the 2013 EIP in her

                     4   Complaint. See Dkt. 1-4. For example, in her Complaint, Plaintiff avers that: “Under the terms of

                     5   her award agreements, including the 2013 Equity Incentive Plan Restricted Stock Unit Agreements,

                     6   Ms. Berland’s RSU and PSU interests continued to vest while she was still employed. (See Exhibit

                     7   C.).” Dkt. 1 ¶ 200 (citing Dkt. 1-4). In other words, the 2013 EIP document on which Defendants

                     8   base their Reply arguments is the very same document Plaintiff has identified as the governing plan

                     9   document from the start of this case. Compare Dkt. 1-4 with Dkt. 59-2.1
                    10            Nevertheless, in her proposed sur-reply, Plaintiff argues that the 2013 EIP constitutes only

                    11   the first 18 pages of the document she identified as the 2013 EIP in her Complaint. Dkt. 62-2 at 1

                    12   (“The 2013 Equity Incentive Plan is set forth at page 1 through 18 of ECF No. 1-4[.]”). From there,

                    13   Plaintiff argues that the venue selection provision on which she based her Opposition arguments is

                    14   not contained within the 2013 EIP, but rather is located in a “form agreement” that merely

                    15   accompanied the 2013 EIP and was thereafter used as a template for the individual Award

                    16   Agreements she received under the 2013 EIP during her employment. Id. But even if credited, this

                    17   argument does not advance Plaintiff’s contention that her claims under the 2013 EIP and

                    18   accompanying Award Agreements are not subject to the Arbitration Agreement.

                    19            For one thing, if Plaintiff is correct that the 2013 EIP omits the venue provision on which
                    20   she based her Opposition arguments, then it follows that nothing in the language of the 2013 EIP

                    21   itself avoids application of the Arbitration Agreement to her claims. Dkt. 59-2.

                    22            For another thing, while Plaintiff insists that the venue provision exists only in the “form

                    23   agreement” that accompanied the 2013 EIP, this does not change the fact that the venue provision

                    24   was part-and-parcel of the 2013 EIP from the start—including when Plaintiff signed her Offer

                    25   Letter and the Arbitration Agreement in 2016. Dkt. 59 at 3.

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                         1
                    27     Additionally, the 2013 EIP document attached to Defendants’ Reply (and submitted with
                         Plaintiff’s Complaint) is identical to the 2013 EIP document Plaintiff submitted with her appeal of
                    28   her pre-litigation benefits claim. If the Court would like Defendants to submit that document with
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                         a Declaration attesting to its authenticity, Defendants would be happy to do so.
 BOCKIUS LLP                                                                           DEFENDANTS’ OPPOSITION TO MOTION
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                                                                          -3-                FOR LEAVE TO FILE SUR-REPLY
                                                                                                          3:24-CV-7589-JSC
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                     1          Finally, Plaintiff’s contention that she signed the Arbitration Agreement before receiving

                     2   her individual Award Agreements—which contain the same venue provision found in the “form

                     3   agreement” accompanying the 2013 EIP—is irrelevant because the venue provision does not

                     4   conflict with the Arbitration Agreement. Rather, as explained in Defendants’ Reply, the venue

                     5   provision merely applies to claims under the 2013 EIP and Award Agreements that are litigated.

                     6   See Dkt. 59 at 2; see also Ma v. Golden State Renaissance Ventures, LLC, 2021 WL 2190912, at

                     7   *7 (N.D. Cal. May 31, 2021); Roma Mikha, Inc. v. S. Glazer’s Wine & Spirits, LLC, 2023 WL

                     8   3150076, at *1–2, *6 (C.D. Cal. Mar. 30, 2023). The venue provision does not preclude arbitration

                     9   of such claims, much less require that the parties must litigate rather than arbitrate any such claims.
                    10   Dkt. 59 at 2. Thus, even if Plaintiff were somehow correct that the venue provision on which she

                    11   relies existed only after she signed the Arbitration Agreement, it does not change the fact that her

                    12   claims under the 2013 EIP and Award Agreements are properly subject to arbitration. Id.

                    13          For all of these reasons, the Court should deny Plaintiff’s untimely and unwarranted Motion

                    14   for Leave or otherwise disregard the arguments contained in her proposed “Sur-Reply.”

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                    16   Dated: June 10, 2025                                MORGAN, LEWIS & BOCKIUS LLP
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                    18
                                                                             By /s/ Dylan D. Rudolph
                    19                                                          Dylan D. Rudolph

                    20                                                            Attorneys for Defendants

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 BOCKIUS LLP                                                                           DEFENDANTS’ OPPOSITION TO MOTION
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                                                                          -4-                FOR LEAVE TO FILE SUR-REPLY
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